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CGFD32 (10/01/16)




ORDERED in the Southern District of Florida on November 7, 2024




                                                                                                  Robert A Mark
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 24−17588−RAM
                                                                                                                 Chapter: 13


In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Daniel Garcia Soto
15600 SW 80TH ST APT 303
Miami, FL 33193

SSN: xxx−xx−6599




                                   ORDER DISCHARGING CHAPTER TRUSTEE


An order converting this case to chapter 13 was entered in this case. , the chapter trustee, having filed a
final report, is discharged.


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